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Attorney for Defendant
UGOCHUKWU AKOMA

                            IN THE DISTRICT COURT OF GUAM
                                  TERRITORY OF GUAM


    DE-ANNA TAIJERON,                           CIVIL CASE NO: 23-CV-0023

                      Plaintiff,

                vs.
                                                                 ORDER
    UGOCHUKWU AKOMA,                                Granting Stipulated Motion for Stay
                                                              (ECF No. 12)
                      Defendant.

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        Having reviewed the parties’ Stipulated Motion for Stay (ECF No. 12) and finding

good cause, the court grants the motion and orders that this case be stayed until

May 31, 2024.     The court further orders the parties to file by May 3, 2024, a joint

statement1 on the status of the criminal prosecution against the Defendant in the

Superior Court of Guam and whether the stay should continue or be lifted.

        IT IS SO ORDERED.
                                                              /s/ 0LFKDHO-%RUGDOOR
                                                                  U.S. Magistrate Judge
                                                              Dated: Apr 02, 2024


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   The parties may file separate statements if agreement cannot be reached on a joint
statement.



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